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                 IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,              )   CRIM. NO. 06-00079 JMS/KSC
                                       )
            Plaintiff,                 )   ORDER GRANTING IN PART AND
                                       )   DENYING IN PART DEFENDANT’S
      vs.                              )   MOTION FOR DISCLOSURE OF
                                       )   ALL STATEMENTS, INCLUDING
NAEEM J. WILLIAMS,                     )   REPORTS, TAPES, OR NOTES
                                       )   ABOUT STATEMENTS, OF
            Defendant.                 )   FORMER CO-DEFENDANT AND
                                       )   CURRENT GOVERNMENT
                                       )   WITNESS DELILAH WILLIAMS
                                       )   AND ASSOCIATED MOTION FOR
                                       )   CONFERENCE ON DISCOVERY
                                       )   PROCEDURES SPECIFIC TO THIS
______________________________         )   CASE, DOC. NO. 2029


ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT’S
  MOTION FOR DISCLOSURE OF ALL STATEMENTS, INCLUDING
 REPORTS, TAPES, OR NOTES ABOUT STATEMENTS, OF FORMER
CO-DEFENDANT AND CURRENT GOVERNMENT WITNESS DELILAH
  WILLIAMS AND ASSOCIATED MOTION FOR CONFERENCE ON
DISCOVERY PROCEDURES SPECIFIC TO THIS CASE, DOC. NO. 2029

            Throughout the pendency of this eight-year long capital criminal

action, the government has proactively produced to Defendant Naeem Williams

(“Defendant”) various statements of co-Defendant Delilah Williams. In his May

24, 2013 Motion for Disclosure of All Statements, Including Reports, Tapes, or

Notes about Statements, of Former Co-defendant and Current Government Witness

Delilah Williams and Associated Motion for Conference on Discovery Procedures
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Specific to this Case (“Motion for Discovery”), Doc. No. 2029, Defendant

nonetheless seeks “an order focused on the witness Delilah Williams that requires

disclosure, pretrial, of any additional statements, notes of statements, tapes of

statements of Delilah Williams within a specified time.”1 Doc. No. 2029-1 at 2.

Defendant further seeks a status conference “for the Court to discuss with the

parties its approach to discovery and discovery management.” Id. at 1-2. The

government filed an Opposition on June 14, 2013, Doc. No. 2054, Defendant filed

a Reply on June 27, 2013, Doc. No. 2059, and a hearing was held on August 22,




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         Specifically, Defendant seeks an order requiring the government to disclose:
              (1) all reports, notes, recordings, and transcripts of statements of
              Delilah Williams prior to the beginning of jury selection;
              (2) any statement, including notes, records, transcripts, or reports
              of statements, including FBI 302 reports, of Delilah Williams’
              statements made up to and including the time of any hearing on
              this motion within 72 hours of the date the court’s order requiring
              disclosure;
              (3) any notes, recordings, transcripts, or reports of Delilah
              Williams’ statements made after the entry of an order arising out of
              this motion within 72 hours of the government’s obtaining the
              statement in whatever form it is preserved in. If a transcript,
              record, or report is disclosed, the government shall also inquire
              into the existence of an Agent or officer’s handwritten notes of any
              interview that produced a statement, and shall, within 72 hours of
              obtaining the notes, disclose those as well; and
              (4) any and all information and evidence bearing on the credibility
              of Delilah Williams within the meaning of Brady v. Maryland, 373
              U.S. 83 (1963), and cases interpreting Brady to apply to
              impeaching evidence, no later than 30 days prior to Ms. Williams’
              taking the witness stand in the trial of this case.
Doc. No. 2029.

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2013. Based on the following, the court GRANTS in part and DENIES in part the

Motion for Discovery.

             Defendant argues that firm deadlines for disclosure of discovery

regarding Delilah Williams are necessary because she is a critical witness, over

time she has acknowledged an increasing responsibility for the victim’s injuries,

and the government has a de-facto monopoly of access over her because the court

previously denied Defendant access to this witness. Other than citing the court’s

general authority to enter discovery orders, see Doc. No. 2029-1, Mot. at 10,

however, Defendant cites no legal support for why the discovery requirements in

this capital criminal action should be altered from what is otherwise required by

Federal Rule of Criminal Procedure 16 (including Local Criminal Rule 16.1,

Brady, Giglio, and Jencks).

             First, it is hardly a novel concept (as Defendant argues) that this court

“has the authority to enter pretrial case management and discovery orders designed

to ensure that the relevant issues to be tried are identified, that the parties have an

opportunity to engage in appropriate discovery and that the parties are adequately

and timely prepared so that the trial can proceed efficiently and intelligibly.” See

United States v W. R. Grace, 526 F.3d 499, 513 (9th Cir. 2008); see also United

States v. Diaz, 2005 WL 1575191, at *3 (N.D. Cal. June 30, 2005) (“[T]he court


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has inherent authority to manage the disposition of its criminal cases, which

includes the power to set dates for disclosure of information.” (citing United States

v. Perez, 222 F. Supp. 2d 164 (D. Conn. 2000))); see also Local Crim. R. 16(a)

(requiring the government to produce certain discovery to defendant “within seven

(7) days after arraignment unless otherwise ordered by the court or promptly upon

subsequent discovery” (emphasis added)).

              But Defendant has failed to establish any special circumstances

requiring the court to alter the discovery deadlines in this action. That this action

is a capital criminal action on its own does not mandate a change to the discovery

process or deadlines. Nor does the fact that Delilah Williams is a critical witness

suggest that a change is necessary. Rather, the government is well aware of its

obligations pursuant to Rule 16, Brady, Giglio, and Jencks, and there is no

suggestion the government has not and will not comply with those obligations.

             The court further rejects Defendant’s Motion to the extent it seeks

material not otherwise discoverable, or proposes deadlines beyond what is required

by Brady, Giglio, Jencks, and Local Rule 16.1. For example, Defendant seeks to

have the government disclose, among other things, all notes taken by others of

statements of Delilah Williams, but notes are discoverable only if they contain

statements that are otherwise discoverable. See, e.g., United States v. Ogbuehi, 18


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F.3d 807, 810-11 (9th Cir. 1994) (recognizing that interview notes read back to and

confirmed by the witness may be a Jencks Act statement); United States v. Boshell,

952 F.2d 1101, 1104-05 (9th Cir. 1991) (finding that the defendants failed to make

a showing that notes were read or adopted by the witness and that the notes were

therefore not subject to the Jencks Act production requirements). Defendant also

seeks to have the government produce all Brady material no later than thirty days

prior to her testimony, but Brady requires no such deadline. Indeed, such deadline

is wholly untenable -- it would require the government to accurately predict when

Delilah Williams will testify or face violating a discovery order.

               The court agrees with Defendant, however, to the extent he challenges

then-Magistrate Judge Kobayashi’s August 1, 2006 Order requiring the

government to respond to specific Brady requests within thirty days of the written

request. See Doc. No. 115. As discussed at the August 22, 2013 hearing, this

thirty-day window to disclose Brady material is unworkable as trial approaches,

and the government has agreed to respond to such requests in an efficient and

expedient manner. The government will also continue to disclose Brady material

(whether by specific request or not) as it becomes available.2

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         And in any event, the court further reminds the parties that “[t]he law requires the
prosecution to produce Brady and Giglio material whether or not the defendant requests any such
evidence.” Milke v. Ryan, 711 F.3d 998, 1003-04 (9th Cir. 2013) (citing Strickler v. Greene, 527
                                                                                     (continued...)

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              Thus, the court GRANTS in part and DENIES in part Defendant’s

Motion for Discovery, Doc. No. 2029. This Order is without prejudice to

Defendant raising a particular discovery dispute via motion.

              IT IS SO ORDERED.

              DATED: Honolulu, Hawaii, August 22, 2013.




                                             /s/ J. Michael Seabright
                                            J. Michael Seabright
                                            United States District Judge




United States v. Williams, Cr. No. 06-00079 JMS/KSC, Order Denying Defendant’s Motion for
Disclosure of All Statements, Including Reports, Tapes, or Notes about Statements, of Former
Co-defendant and Current Government Witness Delilah Williams and Associated Motion for
Conference on Discovery Procedures Specific to this Case, Doc. No. 2029



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        (...continued)
U.S. 263, 280 (1999); United States v. Agurs, 427 U.S. 97, 107 (1976)).

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